           Case 3:13-cr-04514-JO                      Document 542                Filed 04/08/16               PageID.3616               Page 1 of 4

      ~AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
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                  Sheet 1
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                                               UNITED STATES DISTRICT COURT                                                     t
                                                                                                                             CLmK us OISI RICT COURT
                                                                                                                         SOUTHEI~N DISTRICT OF ~RNIA
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                      BY                  ~      PUTY

                       UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Offenses Committed On or After November I, 1987)

                            JULIO RODRIGUEZ (4)                                       Case Number: 13CR4514-BEN
                                                                                      JOHN C. LEMON
                                                                                      Defendant's Attorney
      REGISTRATION NO. 41306298

      o
      o
      THE DEFENDANT:
          pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      ~ was found guilty on count(s) I AND 2 OF THE INDICTMENT.
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
      Title & Section                         Nature of Offense                                                                              Number!s)
18 USC 1962(d)                         CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A
21 USC 841(a)(I),                      PATTERN OF RACKETEERING ACTIVITY
841 (b)(1 )(a)(vii),                   CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCES                                                             2
8 USC 841(b)(1)(B)(i) and
846




         The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o    The defendant has been found not guilty on count(s)
                                                             ------------------------------------
  o    Count(s)                                                                        is DareD dismissed on the motion of the United States.

  181 Assessment: $200.00 ($100 per count) forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than
       $25.00 per quarter during the period of incarceration.



  ~ Fine waived                                      o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                UNITED STATES DISTRICT JUDGE

                                                                                                                                                13CR4514-BEN
      Case 3:13-cr-04514-JO                    Document 542             Filed 04/08/16          PageID.3617              Page 2 of 4

AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                  Judgment - Page   _..:2,-- of   4
 DEFENDANT: JULIO RODRIGUEZ (4)
 CASE NUMBER: 13CR4514-BEN
                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          COUNT I: ONE HUNDRED AND SEVENTY-FIVE (175) MONTHS;
          COUNT 2: ONE HUNDRED AND SEVENTY-FIVE (175) MONTHS CONCURRENT TO COUNT I.


      o Sentence imposed pursuant to Title 8 USC Section 1326(b).
      181 The court makes the following recommendations to the Bureau of Prisons:
          DEFENDANT BE INCARCERATED WITHIN THE CENTRAL DISTRICT OF CALIFORNIA.

          DEFENDANT BE ALLOWED TO PARTICIPATE IN THE 500-HOUR DRUG TREATMENT PROGRAM.


      o The defendant is remanded to the custody ofthe United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
            Oat                                    Oa.m.      Op.m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before ------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                 RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                      to

 at                                                   with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                       By _______~~~~~~~~~-------
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                           13CR4514-BEN
       Case 3:13-cr-04514-JO                     Document 542               Filed 04/08/16              PageID.3618              Page 3 of 4

AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page ~ of _ _4'--_ _
DEFENDANT: JULIO RODRIGUEZ (4)
CASE NUMBER: 13CR4514-BEN
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
COUNT 1: THREE (3) YEARS;
COUNT 2: TEN (10) YEARS CONCURRENT TO COUNT 1.
         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
Far offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d),
       The derendant shall comply with tlie requirements of the Sex Offender'Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol- and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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, .          Case 3:13-cr-04514-JO                     Document 542         Filed 04/08/16            PageID.3619             Page 4 of 4

          AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                     Sheet 4 - Special Conditions
                                                                                                           Judgmen~Page   ----i..... of       4
          DEFENDANT: JULIO RODRIGUEZ (4)
          CASE NUMBER: 13CR4514-BEN




                                               SPECIAL CONDITIONS OF SUPERVISION
 (gI Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.                                                                                                                             II
 o    If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departore.
 o    Not transport, harbor, or assist undocumented aliens.
 o    Not associate with undocumented aliens or alien smugglers.
 o    Not reenter the United States illegally.
 181 Not enter or reside in the Republic of Mexico without written pennission of the Court or probation officer.
 181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence
                                                                                                                             by
      Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed        a
                                                                                                                                     report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      infonnation between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be detennined bv the probation officer. based on the defendant's ability to pay.                                                   II
 181 Shall not associate with any known member, prospect, or associate of the (Posole or Mexican Mafia), or any other gang, or club with a history
      of criminal activity, unless given permission by the probation officer.                                                                             II
 o    Provide complete disclosure of personal and business financial records to the probation officer as requested.
 (gI Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a gang, unless given
      pennission by the probation officer.
 o    Seek and maintain full time employment and/or schooling or a combination of both.
 o    Resolve all outstanding warrants within                days.
 o    Complete            hours of community service in a program approved by the probation officer within
 o    Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

 181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

 181 Shall not loiter, or be present in locations known to be areas where gang members congregate, unless given pennission by the probation
      officer.




                                                                                                                                          13CR4514-BEN
